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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                              FORT MYERS DIVISION


CHARLES EDWARD DAEDA,

             Plaintiff,

v.                                                Case No. 2:20-cv-878-FtM-66NPM

COMMISSIONER OF SOCIAL
SECURITY,

             Defendant.


                                       ORDER

      Before the Court is Plaintiff’s Motion for Consolidation (Doc. 12). Pro se

Plaintiff Charles E. Daeda seeks—pursuant to Federal Rule of Civil Procedure

42(a)—to consolidate this action with Daeda v. Comm’r of Soc. Sec., Case 2:18-cv-

156-MCR. Plaintiff asserts that both cases involve common questions of law or fact,

and consolidation will avoid any conflict of interest, disparity, and different

interpretations of the same subject matter. (Id., p. 1).

      Rule 42(a) permits a court within its discretion to consolidate actions that

involve common questions of law or fact. Upon review of Daeda v. Comm’r of Soc.

Sec., Case 2:18-cv-156-MCR, a Judgment (Doc. 30) was entered and the case was

closed on March 29, 2019. While a court has discretion to consolidate actions, it is

improper for a court to consolidate a pending action with a closed action. See
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Mainstream Advert., Inc. v. Moniker Online Servs., LLC, No. 17-CV-22714, 2017

WL 9672798, *1 (S.D. Fla. Sept. 27, 2017) (denying a motion to consolidate a

pending action with a closed action).

      Accordingly, the Motion to Consolidate (Doc. 12) is DENIED.

      DONE and ORDERED in Fort Myers, Florida on January 12, 2021.




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